                                         Case 5:18-cr-00258-EJD Document 1190 Filed 12/10/21 Page 1 of 1




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8     USA,                                              Case No. 5:18-cr-00258-EJD-1
                                                         Plaintiff,                        ORDER RE DEFENDANT’S MOTION
                                   9
                                                                                           TO STRIKE THE CMS REPORT
                                                    v.
                                  10

                                  11     ELIZABETH A. HOLMES,
                                                         Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          The Court has reviewed the transcript, see Transcript at 7084–7090, and requests the

                                  14   Parties’ views regarding the admissibility of Government’s Exhibit 4621A & B (“the 2016 CMS

                                  15   Report”) with respect to the charging period. This is in relation to today’s discussion regarding

                                  16   Jury Instruction 31. The Parties are instructed to file written briefing by noon on 12/12/2021 and

                                  17   are ordered to appear for a hearing on 12/13/2021 at 9:00 a.m. The Parties’ briefs shall not exceed

                                  18   ten pages.

                                  19          IT IS SO ORDERED.

                                  20   Dated: December 10, 2021

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                                                                                                    EDWARD J. DAVILA
                                  23                                                                United States District Judge
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                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE DEFENDANT’S MOTION TO STRIKE THE CMS REPORT
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